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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                           JACKSONVILLE DIVISION


   ERIEL MASON, JANE DOE (a
   minor), and other similarly situated
   individuals,

               Plaintiffs,

   v.                                         Case No. 3:22-cv-821-MMH-JBT

   PROTECTIVE ENTERPRISES
   PUBLIC SAFETY, LLC and
   MARCUS D. WILLIAMS,
   individually,

               Defendants.



                                     ORDER

         THIS CAUSE is before the Court sua sponte. The above case is related

   to Quantisha Oneal v. Protective Enterprises Public Safety, LLC, et al., Case

   No. 3:22-cv-10-MMH-MCR, which is assigned to the undersigned as the District

   Judge and the Honorable Monte C. Richardson as the Magistrate Judge.

   Accordingly, it is

         ORDERED:
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         The Clerk of the Court is directed to reassign this case to the Honorable

   Monte C. Richardson as the Magistrate Judge.

         DONE AND ORDERED in Jacksonville, Florida this 8th day of

   September, 2022.




   ja

   Copies to:

   Counsel of Record




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